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                                           U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     March 5, 2021
BY ECF

The Honorable Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Stephen Bannon, 20 Cr. 412 (AT)

Dear Judge Torres:

         The Government writes in response to Stephen Bannon’s letter, dated March 1, 2021 (Dkt.
No. 89), requesting that the Court exonerate Bannon’s bail. As the Government stated in its letter
dated February 25, 2021 (Dkt. No. 86), the Government does not object to this request. Bannon’s
letter also asks the Court to “direct the return of Mr. Bannon’s property, such as passports and
electronic devices that the United States Attorney isn’t holding for evidentiary purposes.” The
Government opposes this request, as no such order is necessary. First, with respect to Bannon’s
passport, the Government has previously informed defense counsel that he should coordinate with
Pretrial Services to obtain Bannon’s passport, which can be returned to him following the
termination of his bail conditions. Second, with respect to Bannon’s property, the Government
has already informed defense counsel—prior to the filing of the March 1, 2021 letter—that the
Government will return any personal property that does not have evidentiary value. Specifically,
the Government informed defense counsel that it will return three electronic devices but will retain
the remaining electronic devices seized from Bannon, which have evidentiary value. Accordingly,
Bannon’s request should be denied as moot.


                                              Respectfully submitted,

                                              AUDREY STRAUSS
                                              United States Attorney

                                      By:         /s/
                                              Nicolas Roos
                                              Alison Moe
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Cc:    Robert J. Costello, Esq. (by ECF)
